    Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 1 of 18




              IN THE UNITED STATES DISTRICT
            COURT FOR THE NORTHERN DISTRICT
              OF GEORGIA ATLANTA DIVISION

IN RE GEORGIA SENATE BILL 202                       Master Case No.:
                                                    1:21-MI-55555-JPB

SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et al.,                 Civil Action No.: 1:21-
                                                    cv-01284-JPB
                          Plaintiffs,
                   v.
BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,

                          Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                          Intervenor-Defendants.

GEORGIA STATE CONFERENCE OF THE
NAACP, et al.,                                      Civil Action No.:
                                                    1:21-cv-01259-JPB
                          Plaintiffs,
                   v.

BRAD RAFFENSPERGER, in his official
capacity as the Secretary of State for the
State of Georgia, et al.,

                          Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                          Intervenor-Defendants.


  HONEST ELECTIONS PROJECT’S AMICUS CURIAE BRIEF IN
 SUPPORT OF DEFENDANTS AND INTERVENOR-DEFENDANTS
             Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 2 of 18




                                                   TABLE OF CONTENTS
Table of Contents ............................................................................................. i
Table of Authorities ........................................................................................ ii
Statement of the Identity of the Amicus Curiae ........................................................ iv
Introduction & Background ............................................................................ 1
Argument......................................................................................................... 3
     I.          SB 202 Reduces Election Administration Burdens......................... 3
     II.         SB 202 Prevents Last-Second Electioneering ................................. 6
     III.        SB 202 Prevents Voter-Intimidation ............................................................9

Conclusion ............................................................................................................................... 12
Certificate of Compliance ............................................................................. 13
Certificate of Service .................................................................................... 13




                                                                           i
           Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 3 of 18




                                           TABLE OF AUTHORITIES
Cases
Burson v. Freeman,
          504 U.S. 191 (1992).......................................................................... 3, 7
Citizens for Police Accountability Political Committee v. Browning,
          572 F.3d 1213 (11th Cir. 2009) ........................................... 1, 3-4, 9, 12
Merrill v. Milligan,
          142 S. Ct. 879 (2022)........................................................................... 3
Minnesota Voters Alliance v. Mansky,
          138 S. Ct. 1876 (2018)................................................................ 1, 6, 11
New Georgia Project v. Raffensperger,
          976 F.3d 1278 (11th Cir. 2020) ............................................................ 3
Constitutional Provisions
U.S. Const. art. I, § 4....................................................................................... 1
Statutes
O.C.G.A. § 21-2-414(a)....................................................................................................2, 7
O.C.G.A. § 21-2-414(d) .................................................................................. 7
O.C.G.A. § 21-2-570....................................................................................... 4
Other Sources
C. Ryan Germany Declaration,
          D.E. 151-2 .................................................................................... passim
Exhibit from League of Women Voters of Florida v. Byrd,
          D.E. 651, 4:21-cv-00186 (N.D. Fla. Feb. 26, 2022)........................... 11
Lynn Bailey Declaration,
          D.E. 151-4 .................................................................................... passim


                                                                   ii
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 4 of 18




Trial Transcript from League of Women Voters of Florida v. Byrd,
      4:21-cv-00186 (N.D. Fla. Feb. 4, 2022) ...................................... 5-6, 11
Twitter Post, Georgia Conference of the NAACP,
      @Georgia_NAACP, Twitter (June 24, 2022, 1:20 P.M.) ................. 8-9
Twitter Post, Black Voters Matter,
      @BlackVotersMtr, Twitter (June 23, 2022, 9:00 A.M.) ...................... 9
Twitter Posts, New Georgia Project,
      @NewGAProject, Twitter (June 24, 2022, 10:53 A.M.) ..................... 8




                                               iii
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 5 of 18




       STATEMENT OF THE IDENTITY OF THE AMICUS CURIAE

      The Honest Elections Project is a non-partisan organization that is devoted to

supporting the right of every lawful voter to participate in free and honest elections.

The Honest Elections Project will defend the fair, reasonable, and commonsense

measures that voters want in place to protect the integrity of the voting process. SB

202 is such a fair, reasonable, and commonsense measure, and the Honest Elections

Project has an interest in defending it.

      It should be noted that a party’s counsel has not authored the brief in whole

or in part; a party or a party’s counsel has not contributed money that was intended

to fund preparing or submitting the brief; and a person—other the amicus curiae, its

member, or its counsel—contributed money that was intended to fund preparing or

submitting the brief.




                                           iv
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 6 of 18




                     INTRODUCTION & BACKGROUND

      “Polling places are meant to be a sanctuary” from confusion, political

influence, and intimidation. D.E. 151-2 ¶ 22 (C. Ryan Germany declaration) (Ex.

B). “Casting a vote is a weighty civic act, akin to a jury’s return of a verdict, or a

representative’s vote on a piece of legislation.” Min. Voters All. v. Mansky, 138 S.

Ct. 1876, 1887 (2018). “Members of the public are brought together at th[ose]

place[s], at the end of what may have been a divisive election season, to reach

considered decisions about their government and laws.” Id. at 1887.

      States “want[] peace and order around” their “polling places,” “for it preserves

the integrity and dignity of the voting process and encourages people to come and to

vote.” Citizens for Police Accountability Political Comm. v. Browning, 572 F.3d

1213, 1220 (11th Cir. 2009). And States “may reasonably take steps to ensure” that

“discord not follow the voter up to the voting booth, and distract from a sense of

shared civic obligation at the moment it counts the most.” Min. Voters All., 138 S.

Ct. at 1888; see also U.S. Const. art. I, § 4 (“The Times, Places and Manner of

holding Elections” “shall be prescribed in each State by the Legislature thereof.”).

      Georgia’s election laws strive to meet those ends. According to one election

official, Georgia has “some of the safest in-precinct voting in the country.” D.E. 151-

2 ¶ 21. Under Georgia law, “[n]o person shall solicit votes,” “distribute or display

any campaign material,” or “solicit signatures for any petition” within a buffer zone,


                                          1
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 7 of 18




which spans “150 feet of the outer edge of any building within which a polling place

is established” and “25 feet of any voter standing in line to vote at any polling place.”

O.C.G.A. § 21-2-414(a). The buffer zone also applies within “any polling place.” Id.

      The buffer zone “allows voters in the final stages of the voting process to be

free of confusion and external influences”; it “establish[es] a voting environment

that allows voters to access the ballot with as few interruptions and distractions as

possible.” D.E. 151-4 ¶¶ 8-9 (Lynn Bailey declaration).

      And yet, during the 2020 election, some confusion and external influences

took place within the buffer zone. “[M]any third-party organizations sent

representatives to approach voters in line with food, drinks, masks, literature, and

other goods.” D.E. 151-2 ¶ 27. In other words, third-party organizations were giving

food, drinks, and gifts to voters who were about to vote. Tables, food stations, and

food trucks—some of which were initially situated or parked within the buffer

zone—offered voters coffee, water, crackers, and food boxes, among other things.

Id. ¶¶ 29(c), 31(d). Some individuals were even “wearing clearly identifiable

campaign clothing and colors” when doing so. Id. ¶ 29(a) (Ex. A).

      Of course, this led to concerns about election administration, vote influencing,

and even voter intimidation. SB 202 addressed these concerns. SB 202 contains the

anti-solicitation provision, which prevents “any person” from “giv[ing], offer[ing]




                                           2
          Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 8 of 18




to give, or participat[ing] in the giving of any money or gifts, including but not

limited to, food and drink,” to a voter within the buffer zone.1 SB 202 § 33.

      Plaintiffs ask this Court to enjoin SB 202’s anti-solicitation provision. That

would be improper. The provision is a commonsense solution to pertinent election

issues—issues that just manifested themselves in the previous election cycle. The

provision serves three compelling state interests: (1) it reduces election

administration burdens, see New Ga. Project v. Raffensperger, 976 F.3d 1278, 1282

(11th Cir. 2020); (2) it prevents last-second electioneering, see Burson v. Freeman,

504 U.S. 191, 199 (1992) (plurality op.); and (3) it prevents voter intimidation, id.

For these reasons, this Court should deny Plaintiffs’ motions.

                                    ARGUMENT

I.    SB 202 Reduces Election Administration Burdens

      “Running elections” “is extraordinarily complicated and difficult.” Merrill v.

Milligan, 142 S. Ct. 879, 880 (2022) (Kavanaugh, J., concurring in grant of

applications for stay). Elections “pose significant logistical challenges,” id., and may

require “split-second decisions” from election administrators, Citizens, 572 F.3d at

1220. This complicated and difficult task is not made any easier given Georgia’s




      1
        The bill also allows poll officers to “mak[e] available self-service water from
an unattended receptacle to” a voter “waiting in line to vote.”


                                           3
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 9 of 18




“complex set of rules to protect voters and election officials and ensure a calm and

orderly process of voting.” D.E. 151-2 ¶ 17.

      SB 202’s anti-solicitation provision made things simple: no one—regardless

of good intention—can give voters within the buffer zone food, drinks, or gifts. A

line drawing problem is avoided: what constitutes a helpful gesture and what

constitutes impermissible electioneering before casting a ballot? See, e.g., id. ¶ 31(c)

(election administrator complaining of “where to draw the line”) (Ex. E).

      Granted, “giving or receiving money or gifts for the purpose of” “voting[] or

voting for a particular candidate” is illegal under Georgia law. O.C.G.A. § 21-2-570.

But what the third-party organization provides to voters, and who the third-party

organization is, puts election administrators in a complicated and difficult position.

      For example, is it permissible for the League of Women Voters to hand out

coffee and water to voters within the buffer zone? Would the answer change if the

National Rifle Association did the same thing? What if the NRA gave voters coffee,

water, and an NRA hat? Or let us say that Planned Parenthood procured a food truck

and gave hot dogs, hamburgers, chips, slushies, and sunglasses to voters within the

buffer zone? Can the American Baptist Association hand out cross-shaped cookies?

And what if any of these organizations gave such food, drinks, and materials to some,

but not all, voters waiting in line? Those “split-second decisions” from election

administrators are tough calls. Citizens, 572 F.3d at 1220.


                                           4
      Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 10 of 18




      SB 202’s anti-solicitation provision resolved another issue: if third-party

organizations are going to interact with voters, who will supervise the interactions?

As one election administrator stated, it is “impossible for the poll managers,

workers[,] and watchers to monitor what is being said by these groups as they

perform their ‘line warming.’” D.E. 151-2 ¶ 28. On a busy election day with scores

of third-party organizations and even more voters in and around a polling place,

election administrators simply cannot supervise everything.

      In another election case, League of Women Voters of Florida v. Byrd, Miami-

Dade County Supervisor of Elections White described how difficult it is to monitor

voters and third-party organizations at polling locations:

      I would represent to you that in Miami-Dade, anyway, it can be
      impossible to discern what is solicitation, what is not solicitation.
      People try to take advantage, right, and say, Oh, no, I’m just going to
      the bathroom, and then, you know, they start talking to voters. Or,
      another example is we have early voting sites in libraries and, you
      know, they pretend like they are just going to be a patron reading a
      book, you know, inside the early voting location, but then, you know,
      they leave campaign materials everywhere. And, you know, I have
      other examples where, you know, it is so impossible with the volume
      of sites and the volume of people that we are dealing with out there to
      discern who is engaging in activity to influence, who is not, you know,
      who is providing nonpartisan assistance, who is not.

Tr. 1376:15 – 1377:3, League of Women Voters of Fla. v. Byrd, 4:21-cv-00186 (N.D.

Fla. Feb. 4, 2022). For Supervisor White, a robust anti-solicitation policy made

election administration easier:



                                          5
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 11 of 18




      And so, you know, a good policy is one that is easy to understand, is
      easy to administer, and is easy to enforce. And so, you know, to put this
      type of interpretation on my essential poll workers who have, you
      know, been to training for less than a day I think is something that can
      be handled wildly inconsistent in those locations. So, again, to keep our
      voters safe, we ask everybody to conduct all activity outside of the 150
      feet.

Tr. 1377:4-11, League of Women Voters of Fla. v. Byrd, 4:21-cv-00186 (N.D. Fla.

Feb. 4, 2022).

      SB 202’s anti-solicitation provision does the same thing. “By restricting”

individuals from the buffer zone, “elections officials may more easily monitor the

voting process and ensure that voters are free of outside influences during the final

stages” of casting a ballot. D.E. 151-4 ¶ 18. Voters can cast their ballots without

harassment, and election administrators can focus their efforts on ensuring a safe and

secure election.

II.   SB 202 Prevents Last-Second Electioneering

      “Casting a vote” “is a time for choosing, not campaigning.” Minn. Voters All.,

138 S. Ct. at 1887. To be sure, outside the buffer zone, “anyone may campaign

freely. Voters will often notice a collection of campaign signs just beyond the 150-

foot limit when approaching their polling place or early voting site, as candidates try

to reach voters one last time before they enter the protected zone around a polling

place.” D.E. 151-2 ¶ 23. But once voters are inside the buffer zone, they should be

“free of confusion and external influences.” D.E. 151-4 ¶ 9.


                                          6
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 12 of 18




       The whole purpose of the buffer zone is undermined when third-party

organizations can approach voters within the buffer zone with food, drinks, and gifts,

all of which could influence voters. That would be an ironic outcome, given that a

pro-choice candidate cannot solicit votes within the buffer zone, O.C.G.A. § 21-2-

414(a); O.C.G.A. § 21-2-414(d), but a pro-choice third-party organization can give

meals, drinks, and gifts to voters within the buffer zone before the voters cast their

ballots.

       Appearances matter. What one person may consider a helpful gesture, another

person may consider to be a means to influence voters. In 2020, Georgians

complained that third-party organizations, food trucks, and food stations in or near

the buffer zone may have been used to influence voters. D.E. 151-2 ¶¶ 29-31. That

undermines confidence in the integrity of the electoral process, something that is

hard to establish but easy to diminish.

       Voter confidence is further undermined when, as in 2020, “people setting up

tables and food stations within the 150-foot voter protection [b]ubble” were

“wearing clearly identifiable campaign clothing and colors.” Id. ¶ 29(a). This makes

waiting in line to cast a ballot less like a “sanctuary free from political influence,”

D.E. 151-2 ¶ 36, and more like an “open auction place,” Burson, 504 U.S. at 202

(plurality op.).




                                          7
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 13 of 18




      Indeed, third-party organizations have not been coy in their aims. Just last

election cycle, one third-party organization stated that its food trucks at polling

places were being used as its “last chance to reach Georgians before they vote.” D.E.

151-2 ¶ 30(c). In fact, the organization stated that it wanted to reach voters before

they voted because “the results have the potential to determine control of the U.S.

Senate.” Id.

      “[D]epending on the organization that is distributing” food, drinks, or gifts,

“there could arise allegations or perceptions of having a political agenda.” Id. ¶ 30(b)

(Ex. B). Frankly, that would be the concern if the Plaintiff organizations offer food,

drinks, and gifts to voters within the buffer zone. While the New Georgia Project,

the NAACP, and BVM, for example, are non-partisan, they are hardly silent on their

political agenda. Take, for instance, some of their public statements on recent,

politically charged issues:

      • Dobbs v. Jackson “is a flagrant attempt to control the bodies, rights,
        and health of women and anyone who can become pregnant.”
        @NewGAProject, Twitter (June 24, 2022, 10:53 A.M.),
        https://bit.ly/3OM5gEp.
      • “Because of” GOP Governor “Brian Kemp’s complete contempt of
        anyone with a uterus, abortion access in Georgia will likely be
        obliterated.” @NewGAProject, Twitter (June 24, 2022, 10:53 A.M.)
        https://bit.ly/3QQ7NPo.
      • “Those who claim to be ‘pro-life’ are actually killing people.”
        @NewGAProject, Twitter (June 24, 2022, 10:53 A.M.),
        https://bit.ly/39RCLpX.
      • “Over the last few months, we have watched a constant attempt to
        roll back rights. Voting rights, reproductive rights, and fundamental
        civil rights have been targeted.” “All the elected officials in this state
                                           8
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 14 of 18




         need to do something to protect all women’s reproductive rights,
         specially Black women, who will be impacted by this decision.”
         @Georgia_NAACP, Twitter (June 24, 2022, 1:20 P.M.),
         https://bit.ly/3HPIQQl.
       • “The 2020 Presidential Election, Georgia Senate Runoff, and
         confirmation of Judge Ketanji Brown Jackson would NOT have
         been possible without historic Black voter turnout. Now, the right to
         vote is being attacked. Join us in taking action.” @BlackVotersMtr,
         Twitter (June 23, 2022, 9:00 A.M.), https://bit.ly/3A1Tf9F.

       Given the organizations’ public comments on political issues, a voter within

a buffer zone may reasonably believe that volunteers from these organizations are

attempting to advance their political agenda by handing food, drinks, and gifts to

voters.

       That said, the Plaintiff organizations are free to express their political beliefs

and provide voters with food, drinks, gifts, and campaign material; SB 202 only

prevents them from doing so within the buffer zone.

III.   SB 202 Prevents Voter Intimidation

       Voters should not be discouraged from waiting in line and casting a ballot.

“Commotion,” be that “bustle, stir,” or “confusion,” at a polling place can have that

effect on voters. Citizens, 572 F.3d at 1215. Commotion is “capable of intimidating

and confusing the electorate and impeding the voting process—even deterring

potential voters from coming to the polls.” Id. at 1219.

       Without SB 202’s anti-solicitation provision, “it takes little foresight to

envision polling places awash” with third-party organizations, “some competing

                                           9
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 15 of 18




(albeit peacefully) for the attention of the same voters at the same time.” Id. at 1220.

It “is probable that some—maybe many—voters faced with running the gauntlet

will refrain from participating in the election process merely to avoid the resulting

commotion when leaving the polls.” Id. (emphasis in the original).

      Third-party organizations were “aggressive” and “sophisticated” in their

efforts during the last election cycle. D.E. 151-2 ¶ 29(a). Given the success of these

efforts, these organizations—as well as other, new organizations—will likely be

even more aggressive and sophisticated in elections to come. It is not hyperbole to

believe that that some polling places may be awash with volunteers and food trucks

that are competing for voters’ attention.

      The sheer number of third-party organizations and volunteers is not the only

thing that could intimidate voters. The third-party organizations themselves could

intimidate voters. If SB 202 is enjoined, any third-party organization could offer

food, drinks, and gifts to voters who are about to vote. Even odious third-party

organizations like the Proud Boys. The presence of certain organizations at polling

places and within the buffer zone would deter voters from casting their ballots in

person.

      But intimidation can take other forms as well. One polling place, for example,

could be awash in non-partisan, yet solely left-leaning, third-party organizations. A

voter may not feel comfortable going to the polling place and casting a ballot. And


                                            10
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 16 of 18




even if the voter stays in line, there may be a sticky situation if the voter rejects an

offering of food, drinks, or gift from the third-party organization. As noted above,

such third-party organizations, like the New Georgia Project, the NAACP, and

BVM, publicly take stances on hot-button issues. If the voter rejects an offering from

these organizations in a public setting during a divisive political climate, the voter

may fear that he or she will be perceived as having “contempt of anyone with a

uterus,” as opposing “fundamental civil rights,” and as endorsing “killing people.”

See supra.

      Voter intimidation is not an abstract concern. During the last election cycle,

“older voters felt intimidated by the presence of” the “Black Voters Matter Group,”

as group members were handing out food and drinks. D.E. 151-2 ¶ 30(a) (cleaned

up). Miami-Dade County Supervisor of Elections White also recounted the

“aggressive and/or intrusive” tactics used by parties before the county adopted its

anti-solicitation provision: bullhorns and loud music were being played at polling

places, individuals were engaging voters within 100 feet of a polling place, and

people were getting “in fights with each other,” which required police intervention.

Tr. 1388:9-14, League of Women Voters, 4:21-cv-00186 (N.D. Fla. Feb. 4, 2022);

D.E. 651 at 5, League of Women Voters, 4:21-cv-00186 (N.D. Fla. Feb. 26, 2022).

      This commotion, as scene during the 2020 elections in Georgia and in other

jurisdictions, is “capable of intimidating and confusing the electorate, “impeding the


                                          11
      Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 17 of 18




voting process,” and “deterring potential voters from coming to the polls.” Citizens,

572 F.3d at 1219. SB 202’s anti-solicitation provision prevents that from happening.

                                 CONCLUSION

      SB 202’s anti-solicitation provision is a commonsense election law: it

prevents administrative confusion, prevents last-second electioneering, and prevents

voter intimidation. It should be upheld, and Plaintiffs’ motions should be denied.



 Dated: June 30, 2022                   /s/ Gary K. Hunter, Jr.

                                        Gary K. Hunter, Jr.
                                        Georgia Bar No. 378878
                                        Counsel for Honest Elections Project
                                        Amicus Curiae
                                        HOLTZMAN VOGEL BARAN
                                        TORCHINSKY & JOSEFIAK PLLC
                                        119 S. Monroe Street
                                        Suite 500
                                        Tallahassee, Florida 32327
                                        Telephone: (850) 391-0509
                                        Email: ghunter@holtzmanvogel.com




                                         12
       Case 1:21-cv-01229-JPB Document 122 Filed 07/19/22 Page 18 of 18




                       CERTIFICATE OF COMPLIANCE

   Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the foregoing

document has been prepared in Times New Roman 14, a font and type selection

approved by the Court in L.R. 5.1(C).

 Dated: June 30, 2022                    /s/ Gary K. Hunter, Jr.

                                         Gary K. Hunter, Jr.
                                         Counsel for Honest Elections Project
                                         Amicus Curiae




                       CERTIFICATE OF SERVICE

       I hereby certify that on June 30, 2022, I electronically filed this document with

 the Clerk of Court using the CM/ECF system which will automatically send email

 notification of such filing to the attorneys of record.

 Dated: June 30, 2022                    /s/ Gary K. Hunter, Jr.

                                         Gary K. Hunter, Jr.
                                         Counsel for Honest Elections Project
                                         Amicus Curiae




                                          13
